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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALPHONSO SYVILLE,

                                  Plaintiff,
                                                                   20-CV-4201 (LLS)
                      -against-
                                                                         ORDER
 CITY OF NEW YORK; IRIS RODRIGUEZ,

                              Defendants.

LOUIS L. STANTON, United States District Judge:

         By order dated August 18, 2020, the Court held that Plaintiff’s complaint failed to state a claim

on which relief could be granted but granted Plaintiff leave to submit an amended complaint within sixty

days. On October 14, 2020, the Court received a letter from Plaintiff requesting additional time to

comply. (ECF No. 7.) Plaintiff’s request for an extension of time to file the amended complaint is

GRANTED. The Court grants Plaintiff leave to file an amended complaint, if he wishes to do so, within

thirty days of the date of this order. 1 If Plaintiff fails to comply within the time allowed and cannot show

good cause to excuse such failure, this action will be dismissed for failure to state a claim upon which

relief may be granted.

         The Clerk of Court is directed to mail a copy of this order to Plaintiff, together with a copy of the

August 18, 2020 order to amend and an amended complaint form, and to note service on the docket.

SO ORDERED.

Dated:       October 19, 2020
             New York, New York

                                                                  Louis L. Stanton
                                                                     U.S.D.J.




         1
         Plaintiff has several other pending actions. Syville v. City of New York, No. 20-CV-00571 (LTS)
(SDA) (S.D.N.Y.) (asserting claims regarding conditions at Fort Washington Shelter); Syville v. City of
New York, No. 20-CV-04633 (PGG) (JLC) (S.D.N.Y.) (asserting claims of discrimination and retaliation
at the Help Meyers Men’s MICA Shelter on Wards Island).
